            Case 2:07-cv-01035-BMS Document 9 Filed 09/19/07 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHRISTINE M. BELL d/b/a ALLEGIANCE            :
MORTGAGE SERVICES,                            :
                                              :
                                              :
Individually And On Behalf Of All Persons And              CIVIL ACTION No.
                                              :
Entities Similarly Situated                                07-1035
                                              :
                                              :
               Plaintiff,
                                              :
                                              :
                                              :            CLASS ACTION
        vs.
                                              :
                                              :
                                              :
                                              :
FIRST GUARANTY MORTGAGE                       :
CORPORATION,                                  :
                                              :
                                              :
                                              :
                                              :
               Defendant.                     :
                                              :
                                              :
                                              :
                                              :
                                              :
                                              :

                                STIPULATION OF DISMISSAL

         Pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiff Christine M. Bell d/b/a

Allegiance Mortgage Services, by her undersigned counsel, and Defendant First Guaranty

Mortgage Corporation, by its undersigned counsel, hereby stipulate to the dismissal of this

action, with prejudice as to the individual claims of Christine M. Bell only. This action has not

been certified as a class action, nor has a motion for class certification been filed.



DLA Piper LLP                                                  CALDWELL LAW OFFICE LLC


PHIL1\3842471.1
            Case 2:07-cv-01035-BMS Document 9 Filed 09/19/07 Page 2 of 2




By:      /s Carl W. Hittinger _____         By:   /s Ann M. Caldwell
         Carl W. Hittinger                        Ann M. Caldwell (AMC1953)
         One Liberty Place                        108 W. Willow Grove Ave.
         1650 Market Street, Suite 4900           Suite 300
         Philadelphia, Pennsylvania 19103         Philadelphia, PA 19118
         (215) 656-2449                           (215) 248-2030
         (215) 606-2149 (fax)                     (215) 248-2031 (fax)

         Counsel for Defendant First              Counsel for Plaintiff
         Guaranty Mortgage Corporation            Christine M. Bell




PHIL1\3842471.1
